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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

LEAGUE OF UNITED LATIN                      §
AMERICAN CITIZENS, et al.,                  §
                                            §
              Plaintiffs,                   §
                                            §
EDDIE BERNICE JOHNSON, et al.,              §       EP-21-CV-00259-DCG-JES-JVB
                                                            [Lead Case]
                                            §
              Plaintiff-Intervenors,        §
                                                                   &
v.                                          §
                                            §            All Consolidated Cases
GREG ABBOTT, in his official capacity as    §
Governor of the State of Texas, et al.,     §
                                            §
              Defendants.                   §

            ORDER GRANTING MOTION FOR VOLUNTARY DISMISSAL

        The Court GRANTS the “Unopposed Motion for Voluntary Dismissal of Plaintiff Dona

Murphey” (ECF No. 773) and DISMISSES Plaintiff Dona Murphey’s claims WITHOUT

PREJUDICE as MOOT.

        This Order DOES NOT AFFECT the other Fair Maps Plaintiffs’ claims. The case shall

REMAIN OPEN.




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      So ORDERED and SIGNED this 7th day of May 2024.




                                               ____________________________________
                                               DAVID C. GUADERRAMA
                                               SENIOR U.S. DISTRICT JUDGE

                                       And on behalf of:

Jerry E. Smith                                             Jeffrey V. Brown
United States Circuit Judge                   -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




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